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                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 16-03913-JAF
Lilly Josephine Real                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113A-3                  User: baldws                       Page 1 of 1                          Date Rcvd: May 31, 2018
                                      Form ID: pdfdoc                    Total Noticed: 4


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 02, 2018.
db             +Lilly Josephine Real,   3550 NW 83rd Avenue, #709,   Doral, FL 33122-1147
cr             +Frank Polo,   1475 SW 8th St,   Apt 411,   Miami, Fl 33135-3891

Notice by electronic transmission was sent to the following                 persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: ally@ebn.phinsolutions.com May                 31 2018 23:30:20     Ally Bank,   P.O. Box 130424,
                 Roseville, MN 55113-0004
cr             +E-mail/PDF: gecsedi@recoverycorp.com May 31                 2018 23:27:40      Synchrony Bank,
                 c/o PRA Receivables Management, LLC.,   PO                 Box 41021,    Norfolk, VA 23541-1021
                                                                                                             TOTAL: 2

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 02, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 31, 2018 at the address(es) listed below:
              Alexander G. Smith    alex@agsmithtrustee.com, FL52@ecfcbis.com
              Collette B Cunningham    on behalf of Defendant   United States Of America
               Collette.Cunningham@usdoj.gov,
               dajana.mihaljevic@usdoj.gov;Chantal.sabino@usdoj.gov;Brittany.Robinson2@usdoj.gov
              Edward P Jackson   on behalf of Plaintiff Lilly Josephine Real edward@edwardpjackson.com,
               traci@edwardpjackson.com,linda@edwardpjackson.com,jacksonpacer@gmail.com,
               christina@edwardpjackson.com;p.er70969@notify.bestcase.com
              Edward P Jackson   on behalf of Debtor Lilly Josephine Real edward@edwardpjackson.com,
               traci@edwardpjackson.com,linda@edwardpjackson.com,jacksonpacer@gmail.com,
               christina@edwardpjackson.com;p.er70969@notify.bestcase.com
              United States Trustee - JAX 13/7    USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 5
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       2. The appeal filing fee is waived.




The Clerk’s Office will serve a copy of this Order on interested parties.
